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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HRVOJE CRNECKI, as Father and Next                   )
Friend of LIAM BACH CRNECKI, a Minor,                )
                                                     )
                                       Plaintiffs,   )
                                                     )
       v.                                            )     No. 18-cv-05364
                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
                                       Defendant.    )

     COMPLAINT FOR DAMAGES UNDER THE FEDERAL TORTS CLAIMS ACT

       Plaintiffs, HRVOJE CRNECKI, as Father and Next Friend of LIAM BACH CRNECKI, a

Minor, by and through their attorneys, TOMASIK KOTIN KASSERMAN, LLC, complaining of

the Defendant, UNITED STATES OF AMERICA, and state as follows:

                                        INTRODUCTION

1.     This is an action against the UNITED STATES OF AMERICA under the Federal Tort

Claims Act, 28 U.S.C. § 2671 for negligence in connection with medical care provided to LIAM

BACH CRNECKI by GIOVANNI CURCIO, M.D. on August 29, 2015.

2.     Plaintiffs have fully complied with the provisions of 28 U.S.C. § 2675 of the Federal Tort

Claims Act.

3.     This case has been settled with the UNITED STATES OF AMERICA. Plaintiffs bring this

case to facilitate the minor’s settlement.

                          PARTIES, JURISDICTION, AND VENUE

4.     Plaintiffs are residents of Flower Mound, Texas.

5.     Giovanni Curcio, M.D. was acting within the scope of employment at Visiting Nurse

Association of Fox Valley (“VNA Health Center”) with respect to the incidents addressed in this
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Complaint. The VNA Health Center is a private entity that receives grant money from the Public

Health Service pursuant to 42 U.S.C. § 233.

6.     United States of America is an appropriate defendant under the Federal Torts Claims Act.

                            COUNT I - MEDICAL NEGLIGENCE

7.     On and before August 29, 2015, GIOVANNI CURCIO, M.D. was a physician duly

licensed to practice medicine in the State of Illinois specializing in obstetrics and gynecology.

8.     On and before August 29, 2015, GIOVANNI CURCIO, M.D., practiced obstetrics and

gynecology in Cook County at Westlake Community Hospital and Gottlieb Memorial Hospital.

9.     On August 28, 2015, Plaintiff, LIAM BACH CRNECKI was born at Adventist

Bolingbrook Hospital and passed a normal newborn exam.

10.    On August 29, 2015, Plaintiff, LIAM BACH CRNECKI underwent a circumcision

procedure using a clamp performed by GIOVANNI CURCIO, M.D. at Adventist Bolingbrook

Hospital.

11.    On August 29, 2015, during the circumcision procedure, GIOVANNI CURCIO, M.D.,

amputated a portion of LIAM BACH CRNECKI’s penis.

12.    On and before August 29, 2015, GIOVANNI CURCIO, M.D., had the duty to possess and

use the knowledge, skill, and care ordinarily used by a reasonably careful physician under similar

circumstances.

13.    On and before August 29, 2015, GIOVANNI CURCIO, M.D., was negligent in the

following respects:

                 a.    Failed to adequately examine the glans (head) of the penis and foreskin for
                       the presence of adhesions and synechiae prior to circumcision;

                 b.    Failed to adequately remove adhesions and synechiae located between the
                       foreskin and the glans (head) of the penis prior to the application of the
                       clamp.
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               c.      Failed to implement the appropriate surgical technique during the
                       circumcision;

               d.      Failed to properly use the clamp in performing the circumcision;

               e.      Amputated the glans of the penis while using the clamp;

               f.      Failed to protect the penis from injury; and/ or

               g.      Cut tissue from a patient’s body without first determining what he was
                       cutting.

14.    As a direct and proximate result of one or more of the aforesaid negligent acts or omissions

of GIOVANNI CURCIO, M.D., Plaintiff, LIAM BACH CRNECKI, sustained injuries of a

personal and pecuniary nature.

15.    Under the Federal Torts Claims Act, defendant, UNITED STATES OF AMERICA, is

liable for the above described actions of GIOVANNI CURCIO, M.D. because he was acting within

the scope of employment at VNA Health Center which is a private entity that receives grant money

from the Public Health Service pursuant to 42 U.S.C. § 233.

       WHEREFORE, Plaintiffs, HRVOJE CRNECKI, as Father and Next Friend of LIAM

BACH CRNECKI, a Minor, request judgment against the Defendant, UNITED STATES OF

AMERICA., in an amount of money in excess of the minimum amount required for jurisdiction in

the United States District Court, Northern District of Illinois, Eastern Division.

                                                      /s/ Timothy S. Tomasik
                                                             One of Plaintiffs’ Attorneys
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